     Case 2:18-cr-00876-JAK Document 141 Filed 09/01/23 Page 1 of 1 Page ID #:652




 1
 2
 3
 4
 5
 6
 7
 8
                                 UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11
       UNITED STATES OF AMERICA,                        No. LA CR18-00876-JAK
12
                    Plaintiff,                          ORDER RE STIPULATION TO
13                                                      CONTINUE PRELIMINARY
             v.                                         REVOCATION HEARING
14                                                      (DKT. 140)
       ANDERSON SAM BONILLA
15     ECHEGOYEN,
16                  Defendant.
17
18           Based on a review of the Stipulation to Continue Preliminary Revocation
19     Hearing (the “Stipulation” (Dkt. 140)), sufficient good cause has been shown for the
20     requested relief. Therefore, the Stipulation is APPROVED.
21           The preliminary revocation hearing in this matter is continued from September 7,
22     2023 to September 28, 2023, at 8:30 a.m., with the specific time to be set once the final
23     calendar issues for that date.
24     IT IS SO ORDERED.
25
26
27     Dated: September 1, 2023            By
28                                              John A. Kronstadt
                                                United States District Judge
